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UNITED STATES DISTRICT COURT

 

 

 

DISTRICT OF NEVADA
Michact McDenatd )
- Plaintiff,
vs. Oo 2:18-cv-02271-GMN-PAL
City of Las yeas /State oF NY
Judge Linda Mata nis CIVIL RIGHTS COMPLAINT
PURSUANT TO ~

Judge Heidi Almase. 42 U.S.C. § 1983

DAdge Cara Cambell

- URY TRIAL DEMANDED!
Does T-K Saintly and SevetaitY y

 

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Defendant(s).
A. JURISDICTION

1) This complaint alleges that the civil rights of Plaintiff, Michael Mcoon alf
(print Plaintiff's name)
CIN DF Lad Vegas Datentwrcenter
who presently resides at S%09LS tan (+ Ayo Bis Bais| . were
(mailing address or place of confinement)
violated by the actions of the below named individuals which were directed against

 

Plaintiffat RE DiONal Duster Center LY on the following dates
(institution/city where violation occurred)

Article Yo Article WE wand Acticle YOR --
(Count J) (Count II) (Count ITI)

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Make a copy of this page to provide the below
information if you are naming more that five (5) defendants

CH of Las VeJas [Stated FNU a LawsAUE

2) Defendant resides at Rye
(full name of first defendant) (address of first defendant)
and is employed as Er Dwi ex of Deferwants

(defendant's position and title, if any)
___ individual % official capacity. (Check one or both), Explain how this defendant was acting

under color of law: EM @wNved Named Defendants . phar Vidlated.
Tig fAts . SiS) Dri nger ef Malicigns Cle? eS On Plant ce

. This defendant is sued in his/her

 

 

 

3) Defendant Linda Maz GwiS resides at _~ 60d N PecaS
(full name of first defendant) (address of first defendant)
and isemployedas _uda@ :. This defendant is sued in his/her

(defendant's position and title, if any)
K individual _\ official capacity. (Check one or both). Explain how this defendant was acting

under color of law: Jud9@ .TatY, CXOcution 21, had Qf Porte Co pamwnichter
With der Fudge con spited ty wivlate Praingi€’s Tatts Cleo Prawd Tenpaticit donated 1 conte,

 

 

 

4) Defendant Hei J) Ala mase, resides at _» 200 Cumis Ave
(full name of first defendant) (address of first defendant)
and isemployedas __Sudae . This defendant is sued in his/her

. (defendant's position and title, if any)
XK individual & official capacity. (Check one or both). Explain how this defendant was acting

under color of law: Jude uty “2ke UT Wer. Etend and Clas) matc of
Linda mutduiS, CoCorStitete rt,

SY .
5S) Defendant Capa Cambett resides at _- 200 Cows Ale

(full name of first defendant) (address of first defendant)

andisemployedas __ _Yud DRY . This defendant is sued in his/her
(defendant's position and title, if any)

x individual ava official capacity. (Check one or both). Explain how this defendant-was acting

under color of law: _-S¥ wa ae saat 2 ho Cin tW dor gf (eviouni imbeering
Litlend and Clo vmate Linda mergoss . Cy konseiriter

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\ . t a
6) Defendant Dees 1-X% Do intl and Develt ies at 2 Youu Lyi S Ave
(full name of first defendant) (address of first defendant)

and is employed as _Tudge , Prodecutat . This defendant is sued in his/her
(defendant's position and title, if any)
_X individual X official capacity. (Check one or both). Explain how this defendant was acting

under color of law: Dudy Cy Ped Se cut, OA, Pot CQ

 

7) Jurisdiction is invoked pursuant to 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you wish to _
assert jurisdiction under different or additional statutes, list them below.

 

 

 

B. NATURE OF THE CASE

1) Briefly state the background of your case. ~

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C. CAUSE OF ACTION

COUNT I
The following civil right has been violated: Plaintice alleges that fg
Pitte  Amench nent fight > were Violated,

 

Supporting Facts: [Include all facts you consider i important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].
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ly Judge Marquis, Tudoe Atmace Judge Combet, Fhe Ci IF bus vagad ,
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COUNT IT ~

The following civil right has been violated: Plainti£e Alleges thot
his Sixth Amench rent ta hts Wee Yrialarcad |

 

Supporting Facts: [Include all facts you consider i important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].

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COUNT III

The following civil right has been violated: PlaindHse allenes tras hic
Eight Amench ment Fights were GlevGonsly violated .

 

Supporting Facts: [Include all facts you consider important. State the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].

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D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

Have you filed other actions in state or federal courts involving the same or similar facts
as involved in this action? _Yes x No. Ifyour answer is "Yes", describe each lawsuit.
(If more than one, describe the others on an additional page following the below outline).

a) Defendants:

 

b) Name of court and docket number:

 

 

 

 

 

c) Disposition (for example, was the case dismissed, appealed or is it still pending):
d) Issues raised:
e) Approximate date it was filed:

 

f) Approximate date of disposition:

 

Have you filed an-action in federal court that was dismissed because it was determined to

be frivolous, malicious, 0: or failed to state a claim upon which relief could be granted?

__Yes «No. If: your ai answer is "Yes", describe each lawsuit. (If you have had more than

three actions dismissed based on the above reasons, describe the others on an additional

page following the below outline).

Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a) Defendants:

 

 

 

 

b) — Name of court and case number:

c) The case was dismissed because it was found to be (check one): ____ frivolous
_____ malicious or —_ failed to state a claim upon which relief could be granted.

d) Issues raised:

e) ° Approximate date it was filed:

 

f) Approximate date of disposition:

 
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Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:
a) Defendants:

b) Name of court and case number:

 

 

 

 

 

 

c) The case was dismissed because it was found to be (check one): ___ frivolous
——Malicious or ____ failed to state a claim upon which relief could be ‘granted.

d) Issues raised:

e) Approximate date it was filed:

f) Approximate date of disposition:

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

 

a) Defendants:

b) Name of court and case number:

 

 

 

 

c) The case was dismissed because it was found to be (check one): ____ frivolous
“ ____ malicious or ____ failed to state a claim upon which relief could be granted.

d) _Issues raised:

e) Approximate date it was filed:

f) Approximate date of disposition:

 

3) Have you attempted to resolve the dispute stated in this action by seeking relief from the
proper administrative officials, e.g., have you exhausted available administrative grievance
procedures? x Yes ___No. Ifyour answer is "No", did you not attempt administrative
relief because the dispute involved the validity of a: (1) ___ disciplinary hearing; (2) _
state or federal court decision; (3) ___ state or federal law or regulation; (4) __ parole

board decision; or (5)__ other

 

If your answer is "Yes", provide the following information. Grievance Number

Date and institution where grievance was filed Dudvest AA abine Com@ieint aff

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Response to grievance:__ Wait 9

 

 

 

 

 

E. REQUEST FOR RELIEF
I believe that I am entitled to the following relief:
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he femoveh Fd Me bach and Guadtics@l abeatalag to FHICIG, eae

I understand that a false statement or answer to any question in this complaint will subject _
me to penalties of perjury. 1 DECLARE UNDER PENALTY OF PERJURY UNDER THE
LAWS OF THE UNITED STATES OF AMERICA THAT THE FOREGOING IS TRUE
AND CORRECT. See 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

 

 

 

(Name of person who prepared orhelped ~~ (Signature of “Plaintiff
prepare this complaint if not Plaintiff )
/§-/6-1¥%
(Date)

 

(Additional space if needed; identify what is being continued)

 

 

 

 

 

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